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17                                UNITED STATES DISTRICT COURT
18                             NORTHERN DISTRICT OF CALIFORNIA
19                                        OAKLAND DIVISION
20    EPIC GAMES, INC.                               Case No. 4:20-cv-05640-YGR-TSH
21         Plaintiff, Counter-defendant              APPLE INC.’S STATEMENT IN SUPPORT
22    v.                                             OF ADMINISTRATIVE MOTION TO SEAL

23    APPLE INC.,                                    The Honorable Thomas S. Hixson

24         Defendant, Counterclaimant
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1            Pursuant to Federal Rule of Civil Procedure 26(c) and Local Rule 79-5, Apple Inc. (“Apple”)

2    submits this statement in support of Epic Games, Inc.’s Administrative Motion to Consider Whether

3    Another Party’s Material Should Be Sealed Pursuant to Civil Local Rule 79-5 (Dkt. 1333) (“Epic’s

4    Motion”). Apple respectfully requests that the Court partially seal Exhibits A, B, C, D, E, and G to

5    Epic’s Motion, because they contain information sealable under controlling law and Local Rule 79-5.

6           Exhibits A, B, D, and E contain personally identifiable information in the form of email addresses

7    of Apple employees. Exhibits A, B, C, and D contain competitively sensitive, non-public information

8    regarding Apple’s financial information. Exhibits A and B contain competitively sensitive internal

9    project codenames, which Apple intends to keep confidential. Exhibit G contains excerpts from Apple’s

10   privilege log prepared for the Special Masters conducting evaluation of the privilege claims stemming

11   from Apple’s re-review. The privilege log entries are required to be filed under the terms of the Joint

12   Stipulation and Order Approving Privilege Re-Review Protocol (Dkt. 1092) (the “Protocol”), but contain

13   personally identifiable information in the form of email addresses of Apple employees.

14          Apple’s proposed redactions of Exhibits A, B, C, D, E, and G are indicated in the highlighted

15   versions Apple has lodged with the Court, with copies provided to opposing counsel. Apple’s redactions

16   to the trial exhibits, Exhibits A, B, C, and D, are the redactions used by and agreed upon between the

17   parties during the evidentiary hearing and in any post-hearing exhibit filings. Apple will file redacted

18   versions of Exhibits A, B, C, D, E, and G publicly upon the Court’s ruling as to the proposed

19   confidentiality designations. Apple does not seek to seal Exhibit F to Epic’s Motion.

20                                            LEGAL STANDARD

21          “The court may, for good cause, issue an order to protect a party or person from annoyance,

22   embarrassment, oppression, or undue burden or expense,” including preventing the disclosure of

23   information. See Fed. R. Civ. P. 26(c). The Court has “broad latitude” “to prevent disclosure of materials

24   for many types of information, including, but not limited to, trade secrets or other confidential research,

25   development, or confidential information.” Phillips v. Gen. Motors Corp., 307 F.3d 1206, 1211 (9th

26   Cir. 2002) (emphasis in original); see also Kamakana v. City and Cnty. of Honolulu, 447 F.3d 1172,
27   1178 (9th Cir. 2006) (compelling circumstances exist to seal potential release of trade secrets) (citing

28   Nixon v. Warner Commc’ns, Inc., 435 U.S. 589, 598 (1978)); PQ Labs, Inc. v. Qi, 2014 WL 4617216,


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1    at *1 (N.D. Cal. Sept. 15, 2014) (granting multiple motions to seal where publication would lead to the

2    disclosure of trade secrets); Apple Inc. v. Rivos, Inc., 2024 WL 1204115, at *1 (N.D. Cal. Mar. 21, 2024)

3    (granting request to seal “internal product codenames” and noting that a prior request for the same had

4    also been granted). Courts often find good cause exists to seal personally identifiable information. See,

5    e.g., Snapkeys, Ltd. v. Google LLC, 2021 WL1951250, at *3 (N.D. Cal. May 14, 2021) (granting motion

6    to file under seal personally identifiable information, including email addresses and telephone numbers

7    of current and former employees).

8           Although a party must show compelling circumstances to seal information appended to

9    dispositive motions, the standard for non-dispositive motions is simply “good cause.” In re Anthem, Inc.

10   Data Breach Litig., 2018 WL 3067783, at *2 (N.D. Cal. Mar. 16, 2018); Rembrandt Diagnostics, LP v.

11   Innovacon, Inc., 2018 WL 1001097, at *1 (S.D. Cal. Feb. 21, 2018); see DNA Genotek Inc. v. Spectrum

12   Sols., L.L.C., 2023 WL 4335734, at *2 (S.D. Cal. May 10, 2023). In general, requests to seal information

13   should be narrowly tailored “to remove from public view only the material that is protected.” Ervine v.

14   Warden, 214 F. Supp. 3d 917, 919 (E.D. Cal. 2016); Vineyard House, LLC v. Constellation Brands U.S.

15   Ops., Inc., 619 F. Supp. 3d 970, 972 n.2 (N.D. Cal. 2021) (Gonzalez Rogers, J.) (granting a motion to

16   seal “because the request is narrowly tailored and only includes confidential information”).

17                                               DISCUSSION

18          Apple seeks to seal the personally identifiable information, competitively sensitive non-public

19   financial information, and competitively sensitive non-public project codenames in the exhibits to Epic’s

20   Motion. See Perry Decl. ¶ 5.

21          Apple’s administrative motion to seal is subject to the “good cause” standard because it concerns

22   non-dispositive objections related to discovery. See, e.g., Kamakana, 447 F.3d at 1179 (“[T]he public

23   has less of a need for access to court records attached only to non-dispositive motions because those

24   documents are often unrelated, or only tangentially related, to the underlying cause of action.”); Lee v.

25   Great Am. Life Ins. Co., 2023 WL 8126850, at *2 (C.D. Cal. Nov. 13, 2023) (“Matters concerning

26   discovery generally are considered nondispositive of the litigation” (quotation omitted)); see also In re
27   Anthem, Inc. Data Breach Litig., 2018 WL 3067783, at *2; Rembrandt Diagnostics, LP, 2018

28   WL1001097, at *1; Al Otro Lado, Inc. v. Wolf, 2020 WL 5422784, at *4 (S.D. Cal. Sept. 10, 2020).


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1           Apple’s sealing request meets the good cause standard here. Lamartina v. VMware, Inc., 2024

2    WL 3049450, at *2 (N.D. Cal. June 17, 2024) (good cause to seal internal email communications). Apple
3
     operates in an intensely competitive environment, and thus has taken extensive measures to protect the
4
     confidentiality of its information. See Perry Decl. ¶ 3. Disclosure of the highlighted information in
5
     Exhibits A, B, C, and D relating to non-public sensitive financial information and confidential project
6
     codenames could harm Apple’s business interests. Id. ¶ 5; see also DNA Genotek Inc., 2023 WL
7

8    4335734, at *2 (finding good cause where disclosure would “undercut” a party’s “position … in the

9    marketplace”). Non-public financial information in particular is routinely sealed because it can expose
10   sensitive information to a litigant’s competitors that would provide those competitors an unfair
11
     advantage in the future. See, e.g., Apple Inc. v. Samsung Electronics Co., Ltd., 727 F.3d 1214, 1225
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     (Fed. Cir. 2013) (applying Ninth Circuit law and concluding that the district court abused its discretion
13
     in denying a motion to seal as to “profit, cost, and margin data”); Vigdor v. Super Lucky Casino, Inc.,
14

15   2018 WL 4510734, at *2 (N.D. Cal. Sept. 18, 2018) (sealing “business and financial information relating

16   to the operations of Defendants”); Linex Techs., Inc. v. Hewlett-Packard Co., 2014 WL 6901744 (N.D.

17   Cal. Dec. 8, 2014) (concluding that sensitive financial information falls within the class of documents
18   that may be filed under seal). Additionally, courts in this district have found not only good cause, but
19
     compelling reasons exist to seal personally identifiable information, found in Exhibits A, B, D, E, and
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     G. See Snapkeys, 2021 WL 1951250, at *3 (granting motion to file under seal personally identifiable
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     information, including email addresses and telephone numbers of current and former employees); see
22

23   also UnifySCC v. Cody, 2023 WL 7170265, at *1 (N.D. Cal. Oct. 30, 2023) (finding compelling reasons

24   to seal personally identifying information of employees, including names, addresses, phone numbers,

25   and email addresses).
26
            Apple has narrowly tailored its sealing request to include only the information necessary to
27
     protect its confidential business information and personally identifiable information. See Krommenhock
28
     v. Post Foods, LLC, 2020 WL 2322993, at *3 (N.D. Cal. May 11, 2020) (granting motion to seal

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1    “limited” information); see also Phillips, 307 F.3d at 1211; Williams v. Apple Inc., 2021 WL 2476916,

2    at *2–3 (N.D. Cal. June 17, 2021) (noting Apple’s narrowed sealing requests with “tailored redactions”);

3    Dkt. No. 643 at 3 (finding Apple’s proposed redactions appropriate for an exhibit when redactions were

4    “narrowly tailored” to “sensitive and confidential information”). Apple has only partially redacted

5    limited information in the exhibits. See Perry Decl. ¶ 5.

6           For the foregoing reasons, there is good cause that warrants partially sealing Exhibits A, B, C,

7    D, E, and G to Epic’s Motion.

8                                                   CONCLUSION

9           Apple respectfully requests that the Court seal the information identified in the accompanying

10   declaration.

11

12   Dated: March 17, 2025                                  Respectfully submitted,

13                                                          By: /s/ Mark A. Perry
                                                            Mark A. Perry
14
                                                            WEIL, GOTSHAL & MANGES LLP
15
                                                            Attorney for Apple Inc.
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